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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                               WACO DIVISON

 JENNILYN SALINAS, LINDSEY                 §
 NGUYEN, DEANNA LORRAINE, et               §
 al.                                       §
                                           §
       Plaintiffs.                         §
                                           §
 v.                                        §     CIVIL ACTION NO. 6:21-CV-162
                                           §
 NANCY PELOSI, MITCH                       §
 McCONNELL, CHUCK SCHUMER,                 §
 MARK ZUCKERBERG, et al.                   §
                                           §
       Defendants.                         §     JURY TRIAL REQUESTED

                    PLAINTIFFS’ NOTICE OF VOLUNTARY
            DISMISSAL OF DEFENDANTS UNDER RULE 41(a)(1)(A)(ii)

       COME NOW, Jennilyn Salinas, Lindsey Nguyen, Deanna Lorraine, “P.P.,”

“D.D.,” “T.M.,” “S.M.,” and “M.L.” (collectively, “Plaintiffs”), by and through their

attorney, Paul M. Davis, to file this their Notice of Voluntary Dismissal of Defendants

Under Rule 41(a)(1)(A)(ii) and respectfully represent the following:

       1.      As described in Exhibit B to Plaintiff’s Response to the Motion to Strike

(Doc. No. 168-2), Plaintiffs have experienced recent severe setbacks regarding their

resources to litigate this lawsuit. Specifically, Plaintiffs had been expecting an influx

of financial resources, co-counsel, and staff to litigate this case, which did not

materialize. Moreover, one of their own former staff has now represented that he has

destroyed evidence Plaintiffs intended to use to establish personal jurisdiction over

various non-resident Defendants.
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      2.       After further consideration of the matter, it seem unlikely that

Plaintiffs will be able to muster the resources they need and recover much of the

evidence they lost within a reasonable amount of time. Accordingly, Plaintiffs have

decided to dramatically reduce the scope of this lawsuit to address only the Texas

resident Defendants, the DSCC, the DCCC, Mr. Zuckerberg, and Mr. Dorsey for

actions specifically directed at Texas, and will leave it to citizens in the other forty-

nine states to hold their own officials accountable.

      3.      Plaintiffs have conferred with counsel for the following Defendants who

have stipulated to being dismissed from the case:

           a. The Republican National Committee;

           b. Arkansas Governor Asa Hutchinson and Secretary of State John

              Thurston;

           c. Ohio Governor Mike DeWine and Secretary of State Frank LaRose;

           d. New Hampshire Governor Chris Sununu and Secretary of State William

              H. Gardner;

           e. Kansas Governor Laura Kelly and Secretary of State Scott Schwab.

      4.      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs hereby voluntarily

dismiss the above Defendants pursuant to their stipulations as indicated below.

                                         Respectfully submitted this June 29, 2021.

                                         /s/ Paul M. Davis
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                                      Frisco, TX 75034
                                      Phone: 469-850-2930

                                      ATTORNEY FOR PLAINTIFFS


                          STIPULATIONS TO DISMISSAL

       Counsel for each Defendant listed below has stipulated to dismissal pursuant

to Fed. R. Civ. P. 41(a)(1)(A)(ii):

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 Arthur S. Chalmers                       Caitlyn Nestleroth Johnson
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/s/ Jennifer S. Ramsey
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                           CERTIFICATE OF SERVICE

      I certify that I have served the foregoing motion on all counsel of record who

have made appearances in this action to date via the court’s ECF notification system.

                                       /s/ Paul M. Davis
                                       Paul M. Davis
